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UNITED STATES DISTRICT COURT

District of Arizona

 

 

/n the Matter of the Search of
SUBJECT PARCEL: One USPS Priority Mail

Express parcel bearing USPS tracking number .
L'1461686022US, addressed to “Precious Spratley, SEARCH a es
824 E Agua Fria IN, Avondale, AZ 85323," with a Case Number: 2 a- se

return address of “Steven Smith, 1120 west main
Strect, 38804." It is a white Priority Mail
cardboard box; weighing approximately 4 pounds,
3 ounces; postmarked September 14, 2022; and
bearing 76.15 in postage.

TO: DAWN HAYNES and any Authorized Officer of the United States
Affidavit having been made before me by Affiant, Dawn Haynes, a Task Force Officer with the UNITED
STATES POSTAL INSPECTION SERVICE, on the premises known as:

SUBJECT PARCEL: One USPS Priority Mail Express parcel bearing USPS tracking number
#1461686022US, addressed to “Precious Spratley, 824 E Agua Fria IN, Avondale, AZ 85323,” with a return
address of “Steven Smith, 1120 west main Street, 38804." It is a white Priority Mail cardboard box; weighing
approximately 4 pounds, 3 ounces; postmarked September 14, 2022; and bearing 76.15 in postage,

in the District of Arizona there is now concealed certain property, namely, CONTROLLED SUBSTANCES
AND/OR U.S. CURRENCY OR DOCUMENTS RELATING TO THE DISTRIBUTION OF CONTROLLED
SUBSTANCES THROUGH THE UNITED STATES MAIL, IN VIOLATION OF TITLE 21, UNITED
STATES CODE, SECTIONS 841(a)(1), 843(b) and 846, AS EVIDENCE OF SAID VIOLATIONS.

[ am satisfied that the Affidavit establishes probable cause to believe that the property so described is now
concealed on the premises, described above, and establishes grounds =| issuance of this warrant.

YOU ARE HEREBY COMMANDED to search on or belore 420 | 22? (Date)
(not to exceed 14 days) the premises named above for the property specified, serving this warrant and making the
search in the daytime (6:00 a.m. to 10:00 p.m.), if the property be found there to seize same, leaving a copy of this
warrant and reccipt for the property taken, and to prepare a written inventory of the property seized and promptly
return this warrant to any United States Magistrate Judge, District of Arizona ag required by law.

Sep. \c D2 2 pe at Phoenix Arizona

Date and Time Issued City and State

HONORABLE DEBORAH M. FINE CO) Ald
UNITED STATES MAGISTRATE JUDGE

Name and Title of Judicial Officer Signature of Judicial Officer

 

 
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AO 93 (Rev. 01/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

 

 

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Inventory made in the presence of: USPS Tracking Number:

USPIS Inspector Brandon & TFO Haynes " El 461 686 022 US

 

 

Inventory of the property taken and name of any person(s) seized:

USPS Express Parcel Label No. £1461686022US, addressed to "Precious Spratley, 824 E. Agua Fria In,
Avondale, AZ 85323" with a return address of "Steven Srnith, 1120 West Main Street, 38804" contained:

A White USPS Priority Mail box
A stuffed Llama containing stuffing and $16,210.00 in US currency.

 

Certification

 

I decJare under penalty of perjury that this inventory is correct and was returned along with the
original warrant to the designated judge.

 

 

Date: 09/19/2022

' Executing officer's signature

Dawn Haynes/U.S. Postal {Inspector TFO
Printed name and title

 

 

 

 
